[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
Petitioner claims to have been arrested on May 15, 1996 for a crime that was obviously committed prior to July 1, 1996 which is prior to the effective date of Public Act No. 95-255 § 1. Petitioner claims that under Gus Woods v. Warden he should be required to serve only fifty percent of his sentence instead of eighty-five percent of his sentence before being eligible for parole.
In accordance with Gus Woods, Jazrael King and Miguel Rentas v. Warden
and the decision on Gregory Lytell v. Warden State Prison, the habeas petition is granted, the court having found in the aforementioned cases that Public Act 95-255 § 1 is ex post facto and, therefore, unconstitutional as to inmates whose crimes were committed prior to July CT Page 14076 1, 1996. Assuming the date of May 15, 1996 is correct, the court hereby makes the same ruling as in the aforementioned decisions, copies of which are attached.
Rittenband, JTR